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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION ;,'L`,.j g§§_‘j 215 j".__'}‘j gi Eij

CHRISTOPHER LEE SCALLIONS,

Plaintiff,
v. No. 04-2556

Judge Mays

LAUDERDALE COUNTY, et al, Magistrate Judge Pham

Defendants

ORDER

 

Upon consent of the plaintiff and Lauderdale County, based upon this court’s Order
granting Dyer County’s Motion to Dismiss the plaintiffs claims for punitive damages brought
under 42 USC §1983 against Lauderdale County and against Deputies Kenneth N. Nelson and
Kenneth Richardson in their official capacities, the parties agree that the punitive damage claims
brought under 42 USC §1983 against Lauderdale County and against Deputies Kenneth N.
Neison and Kenneth Richardson acting in their official capacities should be dismissed without
prejudice Therefore, it is ORDERED that the punitive damage claims under federal law against
Lauderdale County and Depu.ties Kenneth N. Nelson and Kenneth Richardson acting in their
official capacities are dismissed

The plaintiffs claims for punitive damages under 42 USC §1983 against Kenneth N.
Nelson and Kenneth Richardson in their individual capacities and the plaintiffs claims for

punitive damages under state law are n_o_t dismissed

ms w "\day OfMay, 2005. MMM"

Samuel H. l\/Iays, Jr.
United States District J'udge

Tnis document entered on the docket sheet| compliance
with F\uie 58 and/or 79(3) )FHCP on d F'Q£ f:l //}/`_f

 

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Approved for Entry:
GLANKLER BROWN

Brr MA _éé/-#_r
Robert F. Hutton
Attorney for Plaintiff

-SLM¢QMQ Ci/- UM€~HSM gay

Michaei W Whiraker fs §"‘““DI,.;N
Attomey for Kenneth Richardson

THOMASON HENDRIX, HARVEY,
JOHNSON & MITCHELL, PLLC

du sw

Kem`ber B. Durand `
Attorney for Lauderdale County

D. Michael Dunavant w/IW ram
Attorney for Kenneth N Neigon

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
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Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

David Michael Dunavant

CARNEY WILDER & DUNAVANT
Bank of Ripley Building

Ripley7 TN 38063

.1. Thomas CaldWell
CALDWELL & FITZHUGH
114 .1 efferson Street

Ripley7 TN 38063

Michael W. Whitaker
WH[TAKER LAW FIRM
P.O. Box 1024
Covington, TN 38019

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C. Barry Ward

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

.1 ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable Samuel Mays
US DISTRICT COURT

